Case 4:18-cv-00702-ALM Document 38-10 Filed 11/04/19 Page 1 of 10 PageID #: 1940




         EXHIBIT J
Case 4:18-cv-00702-ALM Document 38-10 Filed 11/04/19 Page 2 of 10 PageID #: 1941



                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS


  DARELTECH, LLC,

           Plaintiff,

            v.

  SAMSUNG ELECTRONICS CO. LTD.
  AND SAMSUNG ELECTRONICS
  AMERICA, INC.,
                                                 Civil Action No.: 4:19-CV-00702
           Defendants.


  SAMSUNG ELECTRONICS CO. LTD.
  AND SAMSUNG ELECTRONICS
  AMERICA, INC.,

           Counterclaim-Plaintiffs,

            v.

  DARELTECH, LLC,

           Counterclaim-Defendant.




  PLAINTIFF/COUNTERCLAIM DEFENDANT’S SUPPLEMENTAL FED. R. CIV. PRO.
   26(a)(2)(C) STATEMENT REGARDING SUBJECT MATTER AND SUMMARY OF
    FACTS AND OPINIONS FOR THE EXPERT TESTIMONY OF JUSTIN GRANT


        Dareltech, LLC (“Dareltech”), pursuant to Fed. R. Civ. Pro. 26(a)(2)(C) and by

 agreement of the parties serves the following Supplemental Statement Regarding Subject Matter

 and Summary of Facts and Opinions to Defendants/Counterclaim Plaintiffs Samsung Electronics

 Co., Ltd. and Samsung Electronics America, Inc. (collectively, “Defendants” or “Samsung”).
Case 4:18-cv-00702-ALM Document 38-10 Filed 11/04/19 Page 3 of 10 PageID #: 1942



                       SUBJECT MATTER OF EXPERT TESTIMONY

 BACKGROUND:

        Justin Grant is an experienced app developer with practical expertise in full stack

 development. Mr. Grant oversees a team of engineers who actively develop web and mobile

 applications in a variety of different technology stacks and coding architectures. He has deep

 experience with mobile app development, including on Android, and optimization of user

 interfaces. Samsung admits in its petitions for IPR that the level of ordinary skill in the art is

 a person with a 4-year degree in electrical engineering, computer engineering, or computer

 science, and one year of experience in user interface software or system design, but similar

 knowledge and experience could be obtained by other means. Mr. Grant brings years of

 practical experience in software development, and he regularly interacts with and directs

 others who are skilled in the art. Thus, Mr. Grant may provide evidence regarding his

 professional background, which is reflected in his curriculum vitae/resume. Mr. Grant may

 provide evidence regarding his web and mobile application development work, including

 work on UI/GUI systems.

        Mr. Grant may provide evidence regarding the view of a person of ordinary skill in

 the art (“POSITA”) at the time of the claimed invention regarding the disputed terms based

 on the requirements of the law as it pertains to claim construction. In particular, Mr. Grant

 may provide evidence regarding what the disputed terms in the claims would mean to a

 POSITA at the time of the claim invention, in the context of the intrinsic evidence (e.g.

 claim(s) in which they appear, the specification of the patent, and its prosecution history and

 references cited by the examiner) as well as any relevant extrinsic evidence, including the

 evidence identified by Dareltech and Samsung.


                                                 2
Case 4:18-cv-00702-ALM Document 38-10 Filed 11/04/19 Page 4 of 10 PageID #: 1943




 LEVEL OF SKILL OF A PERSON OF ORDINARY SKILL IN THE ART

        Mr. Grant may provide evidence regarding the qualifications of a POSITA at the time

 of the claimed inventions. In particular, Mr. Grant may provide evidence regarding his

 understanding that, for each of the Asserted Patents, a POSITA would have a degree in

 electrical engineering, computer engineering, or computer science, and one year of

 experience in user interface software or system design, or similar knowledge and experience

 could be obtained by other means, which Mr. Grants understands to be at least 4 years of

 experience as an app developer.

 TECHNOLOGY OVERVIEW:

        Mr. Grant may provide an overview of technologies relevant to the Asserted Patents.

 In particular, Mr. Grant may provide evidence regarding the use of display technologies,

 types of display technologies used in mobile devices, and the history and evolution of mobile

 device display technologies up to and including at the time of the claimed inventions.

 Similarly, Mr. Grant may provide evidence regarding touch screen technologies, types of

 touch screen technologies used in mobile devices, and the history and evolution of touch

 screen technologies up to and including at the time of the claimed inventions. Mr. Grant may

 provide evidence regarding known techniques for optimizing power consumption (i.e.

 preservation of battery) in mobile devices.

        Mr. Grant may also provide evidence regarding user interface technology. Mr. Grant may

 provide evidence regarding hardware and software upon which such user interface technology

 was built, both prior to and at the time of the claimed inventions. Mr. Grant may provide




                                                 3
Case 4:18-cv-00702-ALM Document 38-10 Filed 11/04/19 Page 5 of 10 PageID #: 1944



 evidence regarding ways for users to interact with mobile devices that were known at the time of

 the claimed inventions, and may provide evidence regarding the effects of such user interactions.

  CLAIM TERMS:

        Mr. Grant may provide evidence regarding his opinion of how a POSITA would

 understand the disputed terms of the claims in the Asserted Patents, in view of the intrinsic and

 extrinsic evidence. Mr. Grant may provide evidence regarding his opinions as to the proper

 constructions of terms, phrases, and clauses that appear in the claims of the Asserted Patents,

 including but not limited to the terms, phrases and clauses specifically identified below. Mr.

 Grant may also provide evidence in response or in rebuttal to any arguments or expert testimony

 offered by Samsung:

            •   “mathematically upscaling”

            •   “a second portion of the display screen and associated sensors, which is
                configured in a powered-off state and incapable of receiving user input”

            •   “incapable of receiving user input”

            •   “graphical content data structure”

            •   “unlock image”

            •   “power management module”

        In offering his opinions, Mr. Grant may reference information from various sources

 including his professional experience in app development and design. Mr. Grant may reference

 the Asserted Patents and their file histories. Mr. Grant may reference prior art, including prior art

 described in the Asserted Patents themselves, and prior art considered by the Patent Office

 during prosecution of the Asserted Patents. Mr. Grant may reference the Parties’ Joint Claim

 Construction and Prehearing Statement and the intrinsic and extrinsic evidence identified therein.

 Mr. Grant may reference the general knowledge of a POSITA at the time of the claimed


                                                   4
Case 4:18-cv-00702-ALM Document 38-10 Filed 11/04/19 Page 6 of 10 PageID #: 1945



 inventions. Mr. Grant may reference claim construction briefs and any accompanying

 declarations filed by the Parties in this case.


 SUMMARY OF FACTS AND OPINIONS:

         With regard to “mathematically upscaling,” the specification does not define

 "upscaling" and an ordinary interpretation of "upscaling" is incompatible with replacing one

 display element with another. As such, Mr. Grant may provide evidence regarding his

 opinion that a POSITA would understand that the applicants of the ‘427 and ‘328 patents

 acted as their own lexicographer with respect to the term “mathematical upscaling,” and

 related terms. As such, Mr. Grant may provide evidence regarding how a POSITA would

 look to the specification of the patents to guide interpretation of these terms. For example,

 "[t]he second information includes a portion of the first information upscaled for display in

 both the second portion and the first portion." '427 Pat. at 5:10-13; see also id. at Fig. 27,

 22:65-67, 24:13-15. The specification does not indicate that upscaling has anything to do

 with upscaling images in the tradition sense; rather, a person of ordinary skill in the art

 would understand that what is being upscaled is information (e.g. data that is stored in a

 structure). Mr. Grant may also opine regarding Samsung’s proposed construction of the

 terms, which Samsung contends involve “mak[ing] a displayed image larger,” and that

 Samsung’s proposed construction is not supported by any evidence that would be considered

 by a POSITA in light of the context of the usage of the claim terms in the patents.

         Mr. Grant may provide evidence that, in understanding the phrase “a second portion

 of the display screen and associated sensors, which is configured in a powered-off state and

 incapable of receiving user input,” a POSITA would understand, based on the intrinsic and



                                                   5
Case 4:18-cv-00702-ALM Document 38-10 Filed 11/04/19 Page 7 of 10 PageID #: 1946



 extrinsic evidence, the “display screen” referenced in the ‘427 and ’328 patent refers to the

 display itself: for example, an organic light emitting diode (“OLED”) display, which can turn

 off individual pixels. Mr. Grant may also provide evidence that a POSITA would understand

 that the display screen does not refer to the associated sensors (e.g. capacitive sensors of

 modern smartphones and tablets that are typically invisible to users).

        Mr. Grant may provide evidence regarding technical aspects of display screens, touch

 screens and how they are used in mobile devices. Specifically, Mr. Grant may provide

 evidence that well-established principles in the field of human-computer interaction hold

 that, in any valid interaction, a device must provide user-perceivable feedback in response to

 user input. See, e.g., Dillon, A. (2003) User Interface Design. MacMillan Encyclopedia of

 Cognitive Science, Vol. 4, London: MacMillan, 453-458 (e.g., "For example, any current

 interface provides a response to user input which signals to the user that their input has

 caused an action." "For interaction to proceed the human user must input a signal to the

 computer and perceive changes in the interface."). Mr. Grant may also provide evidence

 regarding the concepts of feedback and visibility are fundamental to modern interface design

 and specifically with respect to mobile devices. Mr. Grant may also provide evidence that the

 ‘427 and ‘328 patents do not describe any mechanism by which portions of the “associated

 sensors” are powered off, suggesting that a POSITA would understand they are not powered

 off in connection with portions of the display being powered off to conserve power.

        Mr. Grant may provide evidence regarding his opinion that a POSITA would

 understand the display screen and associated sensors to be separate based on the intrinsic

 evidence; for example, the specification consistently couples the concepts of user input and

 response in the first ("active") portion of the screen. Mr. Grant may provide further evidence

                                                 6
Case 4:18-cv-00702-ALM Document 38-10 Filed 11/04/19 Page 8 of 10 PageID #: 1947



 regarding his opinion that a POSITA would understand the addition of the language

 "incapable of receiving user input" to simply be a direct reflection of the opposite state of the

 second portion of the screen, which does not respond to a user's touch.

        Mr. Grant may provide evidence regarding his opinion that a POSITA would

 understand that a POSITA would understand that a “graphical content data structure” is a

 means for storing electronic data, a type of data structure. Mr. Grant may provide evidence

 that various visual elements of a software application that can be displayed on a display

 screen are stored in the structure. Mr. Grant may provide intrinsic evidence which indicates

 that the structure may be stored within graphics module 132, and dictionary definitions of

 data structure and graphics data structure.

        Regarding the “unlock image” of the ‘612 patent, Mr. Grant may provide evidence

 regarding his opinion that Plaintiff’s construction, which indicates that the image is a

 “graphical, interactive user-interface screen” is consistent with the prosecution history of the

 patent and would be understood be a POSITA. Mr. Grant may also provide evidence that the

 user-interface screen for the unlock image referenced in the patents may have two parts; for

 example, different entry sequences may be required to enter different modes.

        Finally, Mr. Grant may provide evidence that the ‘612 patent’s “power management

 module” would be understood by a POSITA to be a computer-readable storage medium that

 executes a particular algorithm described in the specification of the patent which causes

 portions of a display to be powered on or off; the patent specification also specifically

 indicates that the module may be a hardware component (e.g. screen power management

 module 158).




                                                 7
Case 4:18-cv-00702-ALM Document 38-10 Filed 11/04/19 Page 9 of 10 PageID #: 1948



  Dated: October 12, 2019           /s/ David L. Hecht
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                                       8
Case 4:18-cv-00702-ALM Document 38-10 Filed 11/04/19 Page 10 of 10 PageID #: 1949



                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 12, 2019, a true and correct copy of the foregoing

  document has been forwarded by electronic mail to all counsel of record for the Defendant.

                                                              By: /s/ Selina Kyle
                                                              Selina Kyle




                                                  9
